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DUANE MORRIS LLP
Frederick D. Hyman (NY 2553832)
1540 Broadway
New York, New York 10036
Telephone: (212) 692-1000
RHyman@duanemorris.com

-and-

Jarret P. Hitchings (DE 5564)
222 Delaware Avenue, Ste. 1600
Wilmington, Delaware 19801
Telephone: (302) 657-4952
JPHitchings@duanemorris.com

Attorneys for William Callewaert and Malcolm Cohen
in their capacity as Joint Administrators and Foreign Representatives
for the Debtor BSG Resources Limited (in administration)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                            Chapter 15

 BSG RESOURCES LIMITED (in                         Case No. 19-11845 (_____)
 administration),

           Debtor in a Foreign Proceeding.


                      CORPORATE OWNERSHIP STATEMENT
                PURSUANT TO BANKRUPTCY RULES 1007(a)(4) AND 7007.1

          William Callewaert and Malcolm Cohen (together, the “Joint Administrators”) are the

court-appointed joint administrators for BSG Resources Limited (in administration) (the “Debtor”)

in a proceeding under Part XXI of the Companies (Guernsey) Law, 2008, pending before the Royal

Court of Guernsey (Ordinary Division) (the “Guernsey Administration”). The Joint Administrators

are the duly authorized foreign representatives of the Debtor as defined by section 101(24) of title

11 of the United States Code (the “Bankruptcy Code”). June 3, 2019, the Joint Administrators

commenced this Chapter 15 case (the “Chapter 15 Case”) by filing, on behalf of the Debtor and



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pursuant to sections 1504 and 1515 of the Bankruptcy Code, the Verified Chapter 15 Petition for

Recognition of Foreign Main Proceeding and Related Relief along with the Official Form 401

(Chapter 15 Petition for Recognition of a Foreign Proceeding).

          The Joint Administrators hereby file this Corporate Ownership Statement pursuant to Rules

1007(a)(4) and 7007.1 of the Federal Rules of Bankruptcy Procedure and state that the following

“corporations,” as such term is defined in the Bankruptcy Code, are known to the Joint

Administrators to directly or indirectly own 10% or more of any class of the Debtor’s equity

interests:

                Nysco Management Corp. (100% owner of Debtor)

                Balda Foundation (100% owner of Nysco Management Corp.)



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         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct to the best of my knowledge, information and belief.



  Dated: June 3, 2019
                                               Malcolm Cohen

                                              Joint Administrator and Foreign Representative
                                              for the Debtor BSG Resources Limited
                                              (in administration)
